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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


 OPHELIA PARKER and JOSEPH
 NASO,

                        Plaintiffs,

 v.                                                            Case No: 6:16-cv-1193-Orl-41DCI

 UNIVERSAL PICTURES,
 LEGENDARY PICTURES FUNDING,
 LLC, HANDSTACK, P.B.C., LEGEND
 PICTURES, LLC and LEGENDARY
 ANALYTICS, LLC,

                        Defendants.
                                                 /

                                                 ORDER

        THIS CAUSE is before the Court on Plaintiffs’ Unopposed Motion for Final Approval of

 Class Action Settlement (Doc. 172) and Plaintiffs’ Unopposed Motion for Approval of Attorneys’

 Fees, Costs, Expenses, and Service Award to Plaintiffs as Class Representatives (Doc. 171). As

 set forth below, the motions will be granted.

        The Settlement Agreement (Doc. 163-1) was preliminarily approved in this Court’s April

 8, 2019 Order (Doc. 169), and the settlement classes set forth therein were preliminarily certified.

 The preliminary approval also included approval of Plaintiffs’ and their attorneys’ requested

 attorneys’ fees, costs, and a service award. (Id. at 2). In addition, the Court appointed Plaintiffs’

 counsel as Class Counsel, appointed JND Legal Administration as the Settlement Administrator,

 and approved the Class Notice and Claim Form. (Id.). All of the elements of the Notice Plan

 approved by the Court have been satisfied. (See Keough Decl., Doc. 172-3, ¶¶ 3–15). Of the




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 466,847 Settlement Class Members, only nine opted out and none filed objections. (Id. ¶¶ 5, 17,

 19).

        For the reasons set forth in the Report and Recommendation (Doc. 166), which was

 adopted by this Court, (Doc. 169 at 1), and upon finding that the Notice procedures were fully

 complied with, this Court grants final approval of the Settlement Agreement, including, but not

 limited to, the releases therein. The Court finds that the Settlement Agreement is in all respects

 fair, reasonable, and adequate, and in the best interests of all those affected by it. No objections

 were filed. Accordingly, this Order binds all Settlement Class Members who did not opt out. The

 Court also certifies the following Settlement Classes:

                1. ATDS Class: All persons or entities within the United States who
                received one or more text messages as part of the Warcraft Text
                Messaging Campaign.

                2. Internal-Do-Not-Call Class: All persons within the United States
                who received more than one text message to a residential line as part
                of the Warcraft Text Messaging Campaign, one of which was
                received after the class member submitted a request to not receive
                additional texts.

                3. National Do-Not-Call Class: All persons within the United States
                who received more than one text message to a residential line as part
                of the Warcraft Text Messaging Campaign (a) in a 12-month period;
                and (b) more than 30 days after the placement of their number on
                the National Do-Not-Call Registry.

                4. Out of Time Class: All persons within the United States who
                received more than one text message to a residential line as part of
                the Warcraft Text Messaging Campaign, at least one of which was
                before 8 A.M. or after 9 P.M. local time at the texted person’s
                location.

 And, the Court confirms the appointment of Plaintiffs as class representatives and attorneys

 William Gray and Edmund Normand as Class Counsel.

        In accordance with the foregoing, it is ORDERED and ADJUDGED as follows:




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               1. Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement

                     (Doc. 172) and Plaintiffs’ Unopposed Motion for Approval of Attorneys’ Fees,

                     Costs, Expenses, and Service Award to Plaintiffs as Class Representatives

                     (Doc. 171) are GRANTED.

               2. The Settlement Agreement (Doc. 163-1) is APPROVED.

               3. This Court retains jurisdiction over this action, including over the

                     administration, implementation, interpretation, and enforcement of the

                     Settlement Agreement.

               4. This case is DISMISSED with prejudice.

               5. The hearing set for July 17, 2019, is CANCELLED.

               6. The Clerk is directed to close this case.

        DONE and ORDERED in Orlando, Florida on July 11, 2019.




 Copies furnished to:

 Counsel of Record




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